        Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 1 of 10




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           MIDLAND DIVISION

JOSEPH GALVAN                                                           PLAINTIFF

v.                                                 CAUSE NO. 7:16CV147-LG-DC

FTS INTERNATIONAL SERVICES, LLC                                       DEFENDANT

                 MEMORANDUM OPINION AND ORDER
              GRANTING IN PART AND DENYING IN PART
            PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

      BEFORE THE COURT is the [15] Motion for Partial Summary Judgment as

to Exemption Defenses filed by Plaintiff Joseph Galvan in this Fair Labor Standard

Act case. The issues have been fully briefed. After due consideration of the

submissions and the relevant law, it is the Court’s opinion that there are questions

of material fact for the jury concerning application of the highly-compensated

employee and administrative exemptions of the FLSA. Summary judgment will be

denied as to those exemptions. However, Defendant FTS International Services,

LLC, does not contest Galvan’s argument that the executive exemption does not

apply to him. Accordingly, summary judgment as to this affirmative defense will be

granted and FTS’s claim to the executive exemption dismissed.

                                 I.     BACKGROUND

      Defendant FTS is an oilfield services company that provides oil and gas well

completion services. (Compl. 2, ECF No. 1). FTS hired Galvan as an Equipment

Operator I on March 26, 2012, and promoted him six times before he resigned from
         Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 2 of 10




his position as a Service Supervisor in April 2016. (Id.). As a Service Supervisor,

Galvan received a starting annual base salary of $75,000 plus bonuses. (Id. at 12).

       Shortly after resigning from FTS, Galvan filed his Complaint alleging FTS

improperly classified him as a salaried employee exempt from the FLSA’s overtime

requirements. (Id. at 2). Galvan alleges he was “made to work far in excess of forty

(40) hours per week, sometimes even as many as 100 or more hours in a week;

however, he was paid for only forty (40) hours each week.” (Id.). He seeks to

recover the amount of his unpaid wages and overtime compensation, an additional

equal amount as liquidated damages, plus prejudgment interest, attorneys’ fees,

and costs. (Id. at 7).

       In an earlier-filed summary judgment motion, FTS argued that it was exempt

from the FLSA’s overtime provisions under the highly-compensated employee

exemption. Galvan argued in response that he was in the category of workers who

primarily perform manual labor involving repetitive operations with their hands,

physical skill and energy, and that these workers are not exempt under this section

no matter how highly paid they might be. See 29 C.F.R. § 541.601(d). The Court

determined there was a question of material fact regarding whether the highly-

compensated employee exemption applies to Galvan, and that it could “not be

applied as a matter of law in the face of disputed evidence.” (Order Denying Def.

Mot. Summ. J. 7, ECF No. 14). “Since Service Supervisors are not specifically

addressed in the FLSA regulations, as opposed to, for example, carpenters,

electricians, and mechanics, 29 C.F.R. § 541.601(d), the determination of whether



                                          2
        Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 3 of 10




Plaintiff is a manual laborer ineligible for the highly-compensated employee

exemption is a fact-intensive analysis.” (Id.).

      In the Motion currently before the Court, Galvan requests summary

judgment striking three exemptions claimed by FTS as affirmative defenses: 1) the

executive exemption; 2) the administrative exemption; and 3) the highly-

compensated employee exemption. FTS does not object to striking its executive

exemption affirmative defense, (Def. Resp. 1 n.1, ECF No. 18), making further

discussion of the executive exemption unnecessary.

                                   II.    DISCUSSION

      Generally, whether an employee is exempt from the FLSA’s overtime

compensation provisions is a question of fact. Lott v. Howard Wilson Chrysler-

Plymouth, Inc., 203 F.3d 326, 330 (5th Cir. 2000). “However, the ultimate decision

whether the employee is exempt from the FLSA’s overtime compensation provisions

is a question of law.” Id. The employer bears the burden of proof to show that an

exemption applies to the complaining employee and that burden is by a

preponderance of the evidence that the exemption is “plainly and unmistakably”

applicable. Meza v. Intelligent Mexican Mktg., Inc., 720 F.3d 577, 581 (5th Cir.

2013). The statutory exemptions are construed narrowly against the employer.

Tyler v. Union Oil Co. of Cal., 304 F.3d 379, 402 (5th Cir. 2002). Job titles are not

determinative; rather, it is the employee’s salary and primary duties that determine

his qualification as an exempt employee. 29 C.F.R. §§ 541.2, 541.700(a).




                                           3
        Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 4 of 10




      a. The Highly Compensated Employee Exemption

      For the time period at issue in this lawsuit, the FLSA provided that “[a]n

employee with total annual compensation of at least $100,000 is deemed exempt . . .

if the employee customarily and regularly performs any one or more of the exempt

duties or responsibilities of an executive, administrative or professional employee . .

. .” 29 C.F.R. § 541.601(a) (2004) (amended May 23, 2016). This exemption “applies

only to employees whose primary duty includes performing office or non-manual

work.” § 541.601(d). The employee need not meet all of the requirements of

executive, administrative, or professional employees, however. See § 541.601(c). “A

high level of compensation is a strong indicator of an employee’s exempt status,

thus eliminating the need for a detailed analysis of the employee’s job duties.” Id.

      Galvan argues first that FTS cannot prove that he was highly compensated,

given that the highest yearly base salary he ever earned was $84,218. (Pl. Mot. Ex.

3, ECF No. 15-3). He contends that it is only after his bonuses are included that his

earnings rise above the $100,000 threshold. Although the statutory threshold

includes “commissions, nondiscretionary bonuses and other nondiscretionary

compensation,” 29 C.F.R. § 601(b)(1), Galvan contends that his bonuses should not

be included, because they were discretionary. His reasons are: 1) the offer letter

setting out his compensation package does not refer to bonuses; and 2) he did not

receive a written bonus plan.

      A discretionary bonus is one in which “both the fact that payment is to be

made and the amount of the payment are determined at the sole discretion of the



                                           4
        Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 5 of 10




employer at or near the end of the period and not pursuant to any prior contract,

agreement, or promise causing the employee to expect such payments regularly.”

29 U.S.C. § 207(e)(3). Thus, regular bonuses are to be included in the calculation of

regular rate of pay, 29 C.F.R. § 778.209, but discretionary bonuses are excludable

from the regular rate of pay, § 778.211.

      Galvan testified that his total compensation was more than $130,000 in both

2014 and 2015. (Def. Resp. App. Ex. 1 64-65, ECF No. 19-1). Although the parties

agree that Galvan received bonuses, there is very little evidence of the nature of the

bonuses. A 2015 letter offering Galvan a promotion to Service Supervisor II notes

an annual base salary of $84,218, but there is no mention of bonuses. (Pl. Mot. Ex.

3, ECF No. 15-3). This evidence could indicate that the bonuses were purely

discretionary. On the other hand, Galvan testified that his bonuses were based on

successful completion of “stages” during his own and other shifts. (Def. Resp. App.

Ex. 1 114-15, ECF No. 19-1). This evidence could indicate that the bonuses were

calculated on a predetermined basis, causing employees to expect them regularly.

The jury, rather than the Court, must resolve this contradictory evidence

concerning the discretionary nature of Galvan’s bonuses.

      As for the nature of Galvan’s job responsibilities, it has been noted that oil

field workers are difficult to classify, as “neither Congress nor the Fifth Circuit have

definitively determined whether oil field operators are manual laborers, and

because courts within this Circuit have reached different conclusions.” Guyton v.

Legacy Pressure Control, No. 5:15cv1075-RCL, 2017 WL 244868, at *4 (W.D. Tex.



                                           5
        Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 6 of 10




Jan. 18, 2017). A determination depends on the specific factual circumstances

presented in each case. See id., at *3 (describing cases). In its Order Denying

Defendant’s Motion for Summary Judgment (ECF No. 14), this Court reviewed the

same facts concerning Galvan’s job responsibilities that the parties re-argue here.

Although the Court has authority to modify or rescind its orders at any time prior to

entry of a judgment, see Fed. R. Civ. P. 54(b), the parties present no reason to do so

in this case. Thus, for the reasons stated in its previous Order denying summary

judgment, the Court finds there is a question of material fact regarding whether

Galvan is a manual laborer ineligible for the highly-compensated employee

exemption. Summary judgment on the issue of application of the highly-

compensated employee exemption will be denied.

      b. The Administrative Exemption

      The FLSA’s overtime provisions “shall not apply with respect to . . . any

employee employed in a bona fide executive, administrative, or professional capacity

. . . .” 29 U.S.C. § 213(a)(1). Employees fall within the administrative exemption if

they meet the following criteria:

      (1) Compensated on a salary or fee basis at a rate of not less than $455
          per week;

      (2) Whose primary duty is the performance of office or non-manual
          work directly related to the management or general business
          operations of the employer or the employer’s customers; and

      (3) Whose primary duty includes the exercise of discretion and
          independent judgment with respect to matters of significance.

29 C.F.R. § 541.200(a) (amended May 23, 2016).



                                           6
         Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 7 of 10




       There is no dispute that FTS paid Galvan more than $455 per week. The

parties’ arguments concern the last two criteria of the administrative exemption.

Galvan claims that the administrative exemption does not apply to him “for the

obvious reason that his work for the Defendants was primarily manual and physical

– not ‘office or non-manual.’” (Pl. Mot. 11, ECF No. 15). Relying on his deposition

testimony and affidavit, Galvan contends his time was divided

       between running pumps from inside a data van and turning wrenches
       on equipment outside. The data van was a modified semi trailer that
       was hauled to the well with a semi, along with all of Defendant’s other
       equipment, and remained attached to the semi while on site. Like the
       rest of the work site, the data van was a noisy, dirty environment
       where Mr. Galvan was required to wear protective equipment such as
       steel-toed shoes and fire retardant clothing. The work Mr. Galvan
       performed in the data van was manual – driving sand and fluid into
       wells by sending signals to the pump with a computer mouse.

(Id. at 12) (citations omitted).

       In contrast, FTS provides evidence that Galvan’s primary duties were to:

       (1) run the day-to-day operations on a job location (or “pad”) by
       providing on-site supervision; (2) act as FTSI’s representative in
       dealing with customers on site; (3) oversee all crew job activities from
       home base to servicing at the job locations to returning to home base;
       and (4) perform non-manual work in the data van.
                                       ...
       Galvan was not expected to routinely perform manual labor. Instead,
       Galvan was expected to perform manual labor only to lead by example
       and demonstrate techniques or to assist on an emergency basis.

(Def. Resp. App. Ex. 2, at 1, 2 (¶¶ 4, 7), ECF No. 19-2).

       This conflicting evidence highlights a question of material fact concerning

whether Galvan’s primary duty was the performance of office or non-manual work –

the second criteria for application of the administrative exemption.



                                           7
        Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 8 of 10




      Galvan also contends that FTS cannot show a question of material fact

concerning the third criteria – whether his primary job duties included the exercise

of discretion and independent judgment with respect to matters of significance. He

argues “there is no evidence that he exercised discretion or independent judgment

in his work – no contracts or purchase orders bearing his signature, and no policies

or procedures allegedly authored by him.” (Pl. Mot. 14, ECF No. 15).

      FTS argues that the regulation encompasses more than creating contracts or

policies, and since Galvan directed the work of his crew and controlled the well-

treatment services on the job site, he worked on matters of significance to FTS.

FTS’s evidence is that

      Service Supervisors are usually the highest ranking operations
      employee on the job site. Service Supervisors are expected to keep
      their Field Coordinator, whether on or off site, informed about the
      status of the job and supervise all operations employees. Service
      Supervisors continue to supervise the Equipment Operators even while
      their Field Coordinator is on the job site.

      Service Supervisors direct the work of Equipment Operators (direct
      chain of command for day-to-day operations), lead safety meetings,
      answer questions from Equipment Operators, enforce company
      policies, and have the authority to stop work.

      A Service Supervisor’s supervisory responsibilities include assisting in
      and making recommendation regarding training, scheduling of work,
      performance counseling, promotions, demotions and termination of
      employment. Service Supervisors also ensure that all relevant Human
      Resources and HSE policies and procedures are followed and adhered
      to.

(Def. Resp. App. Ex. 2, at 2 (¶¶ 6, 10, 11), ECF No. 19-2).

      To qualify for the administrative exemption, “an employee must perform

work directly related to assisting with the running or servicing of the business, as

                                          8
         Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 9 of 10




distinguished, for example, from working on a manufacturing production line or

selling a product in a retail or service establishment.” 29 C.F.R. § 541.201(a). The

former category includes “work in functional areas such as . . . quality control; . . .

safety and health; . . . [and] legal and regulatory compliance . . . .” § 541.201(b). “In

general, the exercise of discretion and independent judgment involves the

comparison and the evaluation of possible courses of conduct, and acting or making

a decision after the various possibilities have been considered. The term ‘matters of

significance’ refers to the level of importance or consequence of the work

performed.” § 541.202(a).

      Factors to consider . . . include, but are not limited to: whether the
      employee has authority to formulate, affect, interpret, or implement
      management policies or operating practices; whether the employee
      carries out major assignments in conducting the operations of the
      business; whether the employee performs work that affects business
      operations to a substantial degree, even if the employee’s assignments
      are related to operation of a particular segment of the business; . . .

29 C.F.R. § 541.202(b).

      FTS’s description of Galvan’s job duties shows there is evidence from which a

jury could conclude that Galvan was essentially running an aspect of FTS’s

business with significant decision-making authority while he was the Service

Supervisor on a job site. As there are questions of material fact for the jury,

summary judgment on the issue of application of the administrative employee

exemption will be denied.

      IT IS THEREFORE ORDERED AND ADJUDGED that the [15] Motion

for Partial Summary Judgment as to Exemption Defenses, filed by Plaintiff Joseph



                                            9
       Case 7:16-cv-00147-LG Document 23 Filed 06/07/17 Page 10 of 10




Galvan, is GRANTED as to FTS’s affirmative defense of the executive exemption.

FTS’s executive exemption affirmative defense is DISMISSED. Plaintiff’s Motion

is DENIED in all other respects.

      SO ORDERED AND ADJUDGED this the 7th day of June, 2017.



                                           s/   Louis Guirola, Jr.
                                           LOUIS GUIROLA, JR.
                                           CHIEF U.S. DISTRICT JUDGE




                                      10
